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         In the United States Court of Federal Claims
                                      No. 15-306C
                              (Filed: September 18, 2015)

                                         )
 LAS CRUCES FEDERATED, LLC,              )
                                         )
                      Plaintiff,         )
                                         )
 v.                                      )
                                         )
 THE UNITED STATES,                      )
                                         )
                     Defendant.          )
                                         )


                                      ORDER

       The court is in receipt of plaintiff’s motion (ECF No. 12), filed September 18,
2015, to dismiss its complaint in the above-captioned case with prejudice. Plaintiff
requests that each party pay its own attorney’s fees and costs of litigation. Defendant
does not oppose plaintiff’s motion. Accordingly, plaintiff’s motion to dismiss its
complaint against the United States is GRANTED. Each party to bear its own attorney’s
fees and costs.

      IT IS SO ORDERED.



                                                       s/Nancy B. Firestone
                                                       NANCY B. FIRESTONE
                                                       Judge
